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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

JOSEPH C. GARCIA,                                §
            PETITIONER,                          §
                                                 §
V.                                               §
                                                 §     CASE 3:06-CV-2185-M
LORIE DAVIS, DIRECTOR,                           §
      TEXAS DEPARTMENT OF CRIMINAL               §     CAPITAL CASE
      JUSTICE CORRECTIONAL                       §
      INSTITUTIONS DIVISION,                     §
            RESPONDENT.                          §
                                                 §

                   MOTION FOR STAY OF EXECUTION
              PENDING CONSIDERATION AND DISPOSITION OF
                         RULE 60(B) MOTION

                        Execution date set for December 4, 2018

      Garcia requests that this Court grant him a stay of execution pending the Court’s

consideration and disposition of his Motion for Relief from Judgment Pursuant to Federal

Rule of Civil Procedure 60(b), filed simultaneously with this Motion. A stay is warranted

for the reasons set forth below and those appearing in the accompanying Motion.

      In this Circuit, a motion for a stay of execution is analyzed according to the

following four factors, known as the Nken factors:

      1.     whether the applicant has made a strong showing that he is likely to succeed

             on the merits;

      2.     whether the applicant will be irreparably injured absent a stay;

      3.     whether issuance of the stay will substantially injure the other parties

             interested in the proceeding; and

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          4.     where the public interest lies.

Nken v. Holder, 556 U.S. 418, 434 (2009) (internal citations and quotations omitted); see

also In re Campbell, 750 F.3d 523, 534 (5th Cir. 2014) (applying Nken factors to motion

for stay of execution). Garcia prevails under the Nken factors.

          First, Garcia’s Rule 60(b) motion sets forth numerous extraordinary circumstances

that justify reopening this Court’s judgment and succeeding on the merits. Garcia was

denied the meaningful assistance of federal habeas counsel guaranteed by 18

U.S.C. § 3599, which caused a defect in the integrity of his federal habeas proceedings. As

set forth in more detail in the accompanying motion, the unique and extraordinary

circumstances of Garcia’s case warrant relief under Rule 60(b). Further, the Seven Elves

factors1 that inform this Court’s consideration of Garcia’s Rule 60(b)(6) motion weigh in

favor of granting relief. Finally, Garcia’s case is exceptional based on the facts that he has

developed since undersigned counsel was appointed to his case in 2015.

          Second, Garcia will be irreparably injured absent a stay. Texas is scheduled to

execute Garcia by lethal injection after 6 p.m. on December 4, 2018. Without a stay, Garcia

will die. That is the very definition of “irreparable injury.”

          The third and fourth factors also favor a stay. See Nken, 566 U.S. at 435. No third

parties will be injured by a stay. The State of Texas, the other party to this proceeding,

shares Garcia’s interest in maintaining constitutional integrity in capital proceedings.

Finally, the public has a strong interest in ensuring fair criminal proceedings by preventing



1   Seven Elves, Inc. v. Eskenazi, 635 F.2d 396, 402 (5th Cir. 1981) (listing factors).
                                                    2
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executions that violate the constitution, thereby preserving the integrity and legitimacy of

federal decision-making. Accordingly, public interest lies in granting Garcia’s motion to

stay his execution.

                      CONCLUSION AND PRAYER FOR RELIEF

       Garcia asks that the Court grant his motion, stay his execution, and grant any other

relief that the Court may find just.

       Respectfully submitted this 30th day of November, 2018

                                                 Jon M. Sands
                                                 Federal Public Defender
                                                 District of Arizona

                                                 Jessica M. Salyers
                                                 Mridula Raman

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                             CERTIFICATE OF SERVICE

       On November 30, 2018, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all counsel and/or pro se

parties of record electronically or by another manner authorized by Federal Rule of Civil

Procedure 5 (b)(2).


/s/ Jacci Lastra
Assistant Paralegal



                          CERTIFICATE OF CONFERENCE

       I hereby certify that on November 30, 2018, undersigned counsel of record for Mr.

Garcia communicated with Jefferson Clendenin, counsel for the Directory, who stated the

Director is opposed to the motion.

/s/ Jessica M. Salyers
Assistant Federal Public Defender




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